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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

                COURT’S PROPOSED SPECIAL JURY QUESTIONNAIRE

SPECIAL JURY QUESTIONNAIRE                             JUROR #_____________________

Thank you for participating in jury service. The following questions are used by the Court to obtain

information about you in order to assist in the jury selection process. Providing complete answers

will save time for you and the Court.

Remember, there are no "right" or "wrong" answers. The only correct answers are those

that are honest, thoughtful and most accurately reflect your personal attitudes, beliefs, and

experiences. It is very important that you answer the questions to the best of your ability and in

the most complete manner as possible.

Please fill out the answers by yourself without consulting any other person.

If you need additional space for your answers, or wish to make further comments, please use

the page attached at the very end of this questionnaire - Please do not use the back of any

page for your comments. Simply identify the question number next to your continued response.

You are instructed by the Court not to discuss anything about this case with anyone, even your

spouse or significant other, nor are you to research this case or anything related to it, by any means,

including the internet, social media, radio, newspapers, discussions with others, or in any other

manner. Your failure to abide by this directive may result in contempt of court proceedings against

you, and a possible fine and/or imprisonment.

When you finish answering all the questions, you are required to sign this questionnaire.

As you fill out this questionnaire, please remember that your written answers are given under oath.

Thank you very much for your cooperation!




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_________________________________________
      WILLIAM P. JOHNSON
CHIEF UNITED STATES DISTRICT JUDGE




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SPECIAL JUROR QUESTIONNAIRE                          JUROR #_____________________

1. ___________________________________________________________________
       Last Name               First Name              Middle
                                                       Initial

 _____________________________________________________________________
      City                   Zip code                 County

2. How long have you lived at your current address? ______________

3. Regarding your residence, indicate whether you _______own _________rent

4. How long have you resided in New Mexico? __________________

5. In which state have you resided the longest period of time? __________________

6. Are you a citizen of the United States? ______Yes _______No

       6.a. If naturalized indicate ______________When ______________________Where

7. Can you read, write, speak, and understand English? _______Yes ________No

8. Date of birth: _______________ Place of birth: ____________________

9. Age: ___________________

10. Gender: _________________

11. Are you currently (please check all that apply): ___Employed full time ___Employed part time

___ Homemaker ___ Retired ___ Unemployed ___ Disabled ____Student

12. Indicate current job, place of employment, and job duties. (If not currently working, indicate

prior job) ______________________________________________________________________

______________________________________________________________________________

13. Indicate your highest level of education, any degrees or certificates, and major area of study,

if any: ___________________________________________________________________

______________________________________________________________________________




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14. Have you ever served in any branch of the armed forces of the United States (including the

military reserves, National Guard, or ROTC)? ___YES ___NO

         If YES, please list branch of service, approximate years of service, and highest rank at

discharge: ___________________________________________________________________

______________________________________________________________________________

15. Please check all that describe your marital status: ___Single ___ never married ___Single,

prior marriage ___Married (or living with partner) ___Divorced ___Widowed

16. If married, or living with someone, please describe your spouse/partner's occupation, place of

employment and highest level of education: ___________________________________________

______________________________________________________________________________

17. Indicate any children by age, gender, occupation (if any) and if they live in your home full-

time, part-time, or not at all: _______________________________________________________

______________________________________________________________________________

18. Have you ever shared custody of a child with a parent not living in your home? ___YES

___NO

         If YES, please explain;____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

ABILITY TO SERVE

Once jury selection is completed, this trial is expected to start on September 26, 2023 and

then last up to 4 weeks. Court sessions will last from approximately 9:00 am until 5:00 pm

each day, with regular breaks approximately every 90 minutes, and a 60-minute break for

lunch.



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19. Do you wish to apply to the Court to be excused on the grounds that jury service in this case

would be a serious hardship to you? ____YES ___NO

       If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

20. Do you have any personal, family, or professional obligations that you feel would seriously

interfere with your ability to focus and concentrate as a juror in this case? ___YES ___NO

       If YES, please explain: ____________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

21. Does your employer pay you for time missed as a result of jury service? ___YES ___NO

___UNSURE*

       *If you are unsure, please find out before you return to court for jury selection questioning.

22. Do you have any condition, disability, or need that will require any special consideration or

accommodation while you are in court? ___YES ___NO

       If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

23. Do you have hearing difficulties not corrected by a hearing aid? ___YES ___NO

24. Do you have trouble seeing even with glasses? ___YES ___NO

25.    a. Are you taking any medication(s) regularly? ___YES ___NO

       b. Do any of these medications affect your memory or concentration? ___YES ___NO

       If YES, please explain: __________________________________________________

____________________________________________________________________________
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____________________________________________________________________________

PUBLICITY AND MEDIA

In this case the United States alleges Defendants Jany Leveille, Siraj Ibn Wahhaj, Hujrah Wahhaj,

Subhanah Wahhaj and Lucas Morton engaged in crimes in Taos County, Amalia, New Mexico on

or about October 2017 through August 2018. (Please remember that you are not to research this

case or anything related to it, by any means, including the internet, social media, radio, newspapers,

discussions with others, or in any other manner).

26. Have you previously read, seen, or heard anything about this case? ___YES ___NO

       If YES, please describe in detail whether you read, saw, or heard about the case from the

media or conversations with others, and your sources of information. Use the comment page at

end of this questionnaire if additional space is needed: ________________________________

_____________________________________________________________________________

_____________________________________________________________________________

27. Are you familiar with Amalia, NM, or have you ever visited the area or known anyone who

lived nearby? ___YES ___NO

       If YES, please explain: ____________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

28. Have you formed any opinions about this case or any of the defendants? ___YES ___NO

        If YES, please explain: ___________________________________________________

______________________________________________________________________________

______________________________________________________________________________




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29.     A) Have you ever had any personal or professional involvement with any State or Federal

prosecutor or agency such as a US attorney, the DOJ, office of a District Attorney, or similar

lawyer or agency? ___YES ___NO

        If YES, please explain: ____________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

        B) Have you ever had any personal or professional involvement with any criminal defense

attorney? ___YES ___NO

        If YES, please explain: ___________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

COURTS AND COMMUNITY

30. Have you or a close friend or a family member ever worked in a law enforcement related job

or agency? ___YES (self) ___YES (friend or family) ___NO

        If YES, please explain who, when, where, and the type of job: ______________________

______________________________________________________________________________

______________________________________________________________________________

31. Do you believe that the testimony of sworn law enforcement officers should be given more or

less importance and credibility than that of other witnesses as a result of their status? ___YES

___NO

        If YES, please explain: _____________________________________________________

______________________________________________________________________________

_____________________________________________________________________________



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32. Have you or a close friend or a family member ever been a victim of any violent crime?

___YES (self) ___YES (friend or family) ___NO

        If YES, please indicate who was involved, when and where it occurred, what happened,

the outcome, and what impact this experience had on you: ______________________________

_____________________________________________________________________________

_____________________________________________________________________________

33. Have you or a close friend or a family member ever been arrested, charged with, or convicted

of a crime other than a traffic offense? ___YES (self) ___YES (friend or family) ___NO

        If YES, please indicate who was involved, when and where it occurred, what happened,

and whether or not you feel the process was fair: _______________________________________

______________________________________________________________________________

______________________________________________________________________________

34. If you have ever been convicted of a state or federal crime punishable by imprisonment for

more than one year, have your civil rights been restored by pardon? ___YES ___NO

35. Do you, or anyone in your family, own any guns? ___YES (self) ___YES (family member)

___NO

        If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

36. If the government accuses someone of a crime such as kidnapping or providing material

support to terrorists, do you believe the accused is probably guilty? ___YES ___NO

        If YES, please explain _____________________________________________________

______________________________________________________________________________



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_____________________________________________________________________________

SOCIETY, AFFILIATIONS, LIFE EXPERIENCE, AND KNOWLEDGE

37. Are you a member of any fraternal, civic, labor, religious, or other organization? ___YES

___NO

        If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

38. Have you, or a close friend or family member, ever identified as a Muslim? ___YES (self)

___YES (friend or family, indicate relationship: _______________ )   ___NO

39. Do you have any opinions about the Islamic religion and Muslims generally? ___YES ___NO

        If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

40. Have you or a family member ever had personal or religious beliefs opposing conventional

medical recommendations or treatments? _____YES (self) ___YES (family member) ___NO

        If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

41. Can you be fair and impartial in a case involving a child suffering from seizures? ___YES

___NO

        If NO, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________



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42. Have you ever had any education, training, or experience in the field of mental health or

psychology? ___YES ___NO

       If YES, please explain: _____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

43. Can you be fair and impartial in a case involving a mental health condition such as

schizophrenia or psychosis? ___YES ___NO

       If NO, please explain: ____________________________________________________

____________________________________________________________________________

____________________________________________________________________________

CONCLUDING MATTERS:

44. Have you ever served as a juror? ___YES ___NO

       If YES, please identify the court, whether the case was a civil or criminal case, and the

outcome of the case: _____________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

45. Are there any dates you are unavailable to serve? ___YES ___NO

       If YES, please list the date or dates you are unavailable and the reason why you are

unavailable: ___________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

46. Are there any additional matters touching upon your ability to serve as a juror or to be a fair

and impartial juror that should be brought to the attention of the Court? ___YES ___NO



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       If YES, please explain: ____________________________________________________

______________________________________________________________________________

______________________________________________________________________________

47. Please review the list of names and organizations on the following page. Are you familiar with

any of the individuals or organizations named? ____YES ___NO ___UNSURE

       If YES, or UNSURE, please indicate who you know, or may know, and how you are or

may be familiar with them: ________________________________________________________

______________________________________________________________________________

______________________________________________________________________________



With my signature below, I solemnly swear or affirm that the answers above are true, correct

and complete.

Signature: _________________________________________________ Date: ______________________




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Please review the following names. If you are familiar with any of these individuals or

organizations:

1. Please circle name you are, or may be, familiar with, and

2. If you have circled any of the names below, please check “YES” or “UNSURE” on the last

question on the previous page and write the name or names there which you have checked

and indicate how you know or may know the person or organization. THANK YOU!

INSERT WITNESS LIST HERE




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ADDITIONAL COMMENTS

(Please mark your responses to reflect the question number you are responding to. Thank you!)

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